                 Case 2:18-cr-00266-WBS Document 87 Filed 08/13/19 Page 1 of 9

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 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,                            CASE NO. 2:18-CR-000266-WBS
12                                 Plaintiff,             STIPULATION AND [PROPOSED] PROTECTIVE
                                                          ORDER
13                           v.
14   JOSHUA BILAL GEORGE,
15                                Defendant.
16

17

18                                              I.    STIPULATION
19          1.       Plaintiff United States of America, by and through its counsel of record, and Defendant
20 Joshua Bilal George (“defendant”), by and through his respective counsel of record (collectively, the

21 “parties”), for the reasons set forth below, hereby stipulate, agree, and jointly request that the Court enter

22 a Protective Order in this case restricting the use and dissemination of certain materials containing

23 personal identifying information of real persons and other confidential information of victims, witnesses,

24 and third parties.

25          2.       On December 20, 2018, Defendants Eric Willis and Darron Ross were indicted on one
26 count of conspiracy, in violation of 18 U.S.C. § 371; one count of theft of government property, in

27 violation of 18 U.S.C. § 371; one count of aggravated identity theft, in violation of 18 U.S.C. § 1028A;

28 and nine counts of wire fraud, in violation of 18 U.S.C. § 1343. On January 2, 2019, Willis was


       STIPULATION AND [PROPOSED] PROTECTIVE ORDER        1
                 Case 2:18-cr-00266-WBS Document 87 Filed 08/13/19 Page 2 of 9

 1 arraigned on the Indictment and is currently on pretrial release. ECF 16. On February 21, 2019, Ross

 2 was arraigned on the Indictment and is currently detained pending trial. ECF 17. On February 25, 2019,

 3 the Court issued a Protective Order for the United States and Defendants Willis and Ross. ECF 22.

 4          3.       On June 17, 2019, Willis pleaded guilty to charges in this case including conspiracy, theft

 5 of government property, and aggravated identity theft.

 6          4.       On July 18, 2019, Defendants Darron Ross and Joshua George were indicted via a

 7 Superseding Indictment in this case. ECF 73. George was indicted on one count of conspiracy, in

 8 violation of 18 U.S.C. § 371; one count of theft of government property, in violation of 18 U.S.C. § 371;

 9 one count of aggravated identity theft, in violation of 18 U.S.C. § 1028A; and eleven counts of wire

10 fraud, in violation of 18 U.S.C. § 1343. ECF 73.

11          5.       The present Stipulation and Proposed Protective Order is needed to include new

12 Defendant Joshua George and is essentially identical to the prior Protective Order entered on February

13 25, 2019.

14          6.       As part of its investigation in the above-captioned case, the United States is in possession

15 of documents relating to the charges against the defendants, and seeks to provide those documents to

16 counsel for both defendants. Some of the materials may exceed the scope of the United States’s

17 discovery obligations, but will be produced to promote a prompt and just resolution or trial of the case.

18          7.       The United States intends to produce to the Defense Team, as defined below, materials

19 containing personal identifying information (“PII”) and other confidential information of real persons,

20 including, among other things: personal names, addresses, phone numbers, Social Security numbers,

21 employers, credit/debit card numbers, family information, bank account statements and numbers, GPS

22 information, cell-site location information, and phone toll records. These real persons include each

23 defendant, alleged victims, witnesses, and third parties to this case.

24          8.       The purpose of the proposed Protective Order is to prevent the unauthorized

25 dissemination, distribution, or use of PII and other confidential information. If this information is

26 disclosed without protective measures, or to defendants without limitation, it will risk the privacy and

27 security of the people to whom the information relates. The information could itself be used to further

28 criminal activity if improperly disclosed or used. The United States has ongoing statutory and ethical


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER         2
                 Case 2:18-cr-00266-WBS Document 87 Filed 08/13/19 Page 3 of 9

 1 obligations to protect victims.

 2          9.       Due to the nature of the charges and the alleged conduct in this case, PII and other

 3 confidential information make up a significant part of the discovery materials in this case and such

 4 information itself, in many instances, has evidentiary value. The documentary evidence contains a very

 5 large quantity of privacy-protected information that would be difficult or time-consuming to redact.

 6 Further, if the government were to attempt to redact all this information, the defense would receive a set

 7 of discovery that would be highly confusing and difficult to understand, and could inhibit prompt and

 8 just resolution of the case or preparation for trial.

 9          10.      Accordingly, the parties jointly request a Protective Order that will permit the United

10 States to produce discovery that is unredacted, but preserves the privacy and security of each defendant,

11 victims, witnesses, and third parties. The parties agree that the following conditions, if ordered by the

12 Court in the proposed Protective Order, will serve the government’s interest in maintaining the privacy

13 and security of each defendant, victims, witnesses, and third parties, while permitting the Defense Team

14 to understand the United States’s evidence against the defendants.

15          11.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

16 Criminal Procedure, Local Rule 141.1, and its general supervisory authority.

17                               II.      PROPOSED PROTECTIVE ORDER
18          A.       Protected Materials
19          12.      This Order pertains to all discovery provided or made available to Defense Counsel in

20 this case.

21          13.      For purposes of the Protective Order, the term “Personal Identifying Information” (“PII”)

22 includes: any information within the definition of a “means of identification” under 18 U.S.C. §

23 1028(d)(7), any information within the definition of an “access device” under 18 U.S.C. § 1029(e)(1),

24 and the home addresses and personal contact information of any victim or witness.

25          14.      For purposes of the Protective Order, the term “Confidential Information” means

26 information of a confidential nature that may not necessarily include PII, which includes without

27 limitation: home addresses, phone numbers, personal contact information, employment information and

28 records, family information and records, DMV records, GPS information, cell-site location information,


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER          3
              Case 2:18-cr-00266-WBS Document 87 Filed 08/13/19 Page 4 of 9

 1 phone toll records, credit reports, and bank statements.

 2          15.      For purposes of the Protective Order, the term “Protected Materials” includes: any

 3 discovery that the United States has provided or made available to Defense Counsel and has designated

 4 “PROTECTED MATERIALS- SUBJECT TO PROTECTIVE ORDER” by a notation written, stamped,

 5 or inscribed on the discovery itself or a discovery container (e.g., a folder, disc, or flash drive). The

 6 United States will in good faith designate only discovery that contains PII and/or Confidential

 7 Information as Protected Materials.

 8          16.      To the extent that notes are made that memorialize, in whole or in part, the PII or

 9 Confidential Information in any Protected Materials, or to the extent that copies are made for authorized

10 use by members of the Defense Team, such notes, copies, or reproductions become Protected Materials,

11 subject to the Protective Order and must be handled in accordance with the terms of the Protective

12 Order.

13          B.       Defense Team
14          17.      For purposes of this Order, the term “Defense Counsel” refers to the defendant’s counsel

15 of record.

16          18.      For purposes of this Order, the term “Defense Team” refers to (1) the defendant’s counsel

17 of record, (2) other attorneys at defense counsel’s law firm or defense organization who may be

18 consulted regarding case strategy in the above-captioned matter, (3) defense investigators who are

19 assisting defense counsel with this case, (4) retained experts or potential experts, and (5) paralegals,

20 legal assistants, and other support staff to defendant’s counsel of record providing assistance on this

21 case. The term “Defense Team” does not include defendant, the defendant’s family, or other associates

22 of the defendant.

23          19.      Defense Counsel must provide a copy of this Order to all members of the Defense Team.

24                   a)     Defense Counsel must obtain written acknowledgement from members of the

25          Defense Team that they are bound by the terms and conditions of this Protective Order, prior to

26          providing any Protected Materials to the members of the Defense Team. The written

27          acknowledgement need not be disclosed or produced to the United States unless ordered by the

28          Court.


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER         4
              Case 2:18-cr-00266-WBS Document 87 Filed 08/13/19 Page 5 of 9

 1                  b)      Members of the defense team who are employees of the Federal Defender’s

 2          Office who have signed a confidentiality agreement as part of their employment are not required

 3          to sign a written acknowledgement. The confidentiality agreement need not be disclosed or

 4          produced to the United States unless ordered by the Court.

 5          C.      Disclosure of Protected Materials
 6          20.     The Defense Team shall not permit anyone other than the Defense Team to have

 7 possession of the Protected Materials, including the defendants themselves.

 8          21.     No person or party shall use any Protected Materials or information derived from

 9 Protected Materials produced in this action for any purpose other than use in the above-captioned case.

10 All Protected Materials shall be used solely for the purpose of conducting and preparing for pre-trial,

11 post-trial, and appellate proceedings (both direct and collateral) and in this criminal action for no other

12 purposes whatsoever, and shall not be used for the economic or other benefit of the defendants, or any

13 third party. Protected Materials may be disclosed only to the categories of persons and under the

14 conditions described in this Order.

15          22.     Defendants may review Protected Materials in this case only in the presence of a member

16 of the Defense Team, and his or her Defense Counsel shall ensure that each defendant is never left alone

17 with any Protected Materials. Defendants may not copy, keep, maintain, or otherwise possess any of

18 such Protected Materials at any time. Defendants must return any Protected Materials to the Defense

19 Team at the conclusion of any meeting at which defendants review the Protected Materials. Defendants

20 may not take any Protected Materials out of the room in which they are meeting with the Defense Team.

21 Defendants may not write down or memorialize any PII or Confidential Information contained in the

22 Protected Materials. At the conclusion of any meeting with defendants, the member of the Defense

23 Team present shall take with him or her all Protected Materials. At no time, under any circumstances,

24 will any Protected Materials be left in the possession, custody, or control of the defendant, whether or

25 not he or she is incarcerated, except as provided below in Paragraph 20.

26          23.     If, during the pendency of the case, defendants request a copy of the Protected Materials

27 from Defense Counsel, Defense Counsel may provide a copy of the Protected Materials to the defendant

28 provided that Defense Counsel ensures that all PII contained in the Protected Materials is fully redacted


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER         5
              Case 2:18-cr-00266-WBS Document 87 Filed 08/13/19 Page 6 of 9

 1 and each page of the copy bears the inscription as described in Paragraph 26. If Defense Counsel

 2 provides a redacted copy to defendants subject to these conditions, Defense Counsel or a member of the

 3 Defense Team must contemporaneously memorialize in writing that it has fully redacted PII from the

 4 Protected Materials and complied with this Order. This written certification need not be disclosed or

 5 produced to the United States unless ordered by the Court.

 6          24.     The Defense Team may review Protected Materials with a witness or potential witness in

 7 this case, including the defendant, subject to the requirement above that a member of the Defense Team

 8 must be present if Protected Materials are being shown to the defendant. Before being shown any

 9 portion of the Protected Materials, however, any witness or potential witness must be informed of the

10 existence of the Protective Order and given a copy of the Protective Order. No witness or potential

11 witness may retain Protected Materials, or any copy thereof, after his or her review of those materials

12 with the Defense Team is complete.

13          25.     This Order does not limit employees of the United States Attorney’s Office for the

14 Eastern District of California from disclosing the Protected Materials to members of the United States

15 Attorney’s Office, law enforcement agencies, the Court, and defense.

16          26.     Defense Counsel shall advise the United States with reasonable notice of any subpoenas,

17 document requests, or claims for access to the Protected Materials by third parties if Defense Counsel is

18 considering disseminating any of the Protected Materials to a third party, in order that the United States

19 may take action to resist or comply with such demands as it may deem appropriate.

20          D.      Ensuring Security of Protected Materials
21          27.     The Defense Team shall maintain the Protected Materials safely and securely, and shall

22 exercise reasonable care in ensuring the security and confidentiality of the Protected Materials by storing

23 the Protected Materials in a secure place, such as a locked office.

24          28.     To the extent that Protected Materials, or any copies or reproductions thereof, are stored

25 electronically, the Protected Materials will be stored on a password-protected or encrypted storage

26 medium or device. Encryption keys must be stored securely and not written on the storage media that

27 they unlock.

28          29.     If a member of the Defense Team makes, or causes to be made, any further copies of any


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER        6
              Case 2:18-cr-00266-WBS Document 87 Filed 08/13/19 Page 7 of 9

 1 of the Protected Materials, Defense Counsel will ensure that the following notation is written, stamped

 2 or inscribed on whatever folder, container, or media contains the copies: “PROTECTED MATERIALS-

 3 SUBJECT TO PROTECTIVE ORDER.” For example, if Defense Counsel makes a copy of a disc or

 4 physical file containing Protected Materials, the duplicate disc or file must be encrypted and marked

 5 with the above notation.

 6          E.      Filings
 7          30.     In the event that a party needs to file Protected Materials containing PII, or materials

 8 otherwise identified as containing confidential information of victims, witnesses, or third parties with

 9 the Court, or disclose PII in court filings, the filing should be made under seal pursuant to a properly-

10 filed motion for a sealing order that complies with L.R. 141. If the Court rejects the request to file such

11 information under seal, the party seeking to file such information shall provide advance written notice to

12 the other party to afford such party an opportunity to object or otherwise respond to such intention. If

13 the other party does not object to the proposed filing, the party seeking to file such information shall

14 redact the PII or confidential materials and make all reasonable attempts to limit the divulging of PII or

15 confidential materials.

16          F.      Conclusion of Prosecution
17          31.     The provisions of this Order shall not terminate at the conclusion of this prosecution. All

18 Protected Materials subject to the Protective Order maintained in the Defense Team’s files shall remain

19 subject to the Protective Order unless and until such Order is modified by the Court.

20          32.     Upon final disposition of the case, including exhaustion of direct and collateral appellate

21 proceedings, Defense Counsel shall return the Protected Materials to the government, or certify in

22 writing that the Protected Materials have been destroyed, or, if Defense Counsel seeks to maintain the

23 Protected Materials in the Defense Team’s files beyond final disposition of the case, seek modification

24 of this provision with the Court. If any Protected Materials are used as defense exhibits, they shall be

25 maintained with government exhibits so long as those are required to be maintained.

26          G.      Termination or Substitution of Counsel
27          33.     In the event that there is a substitution of counsel prior to final disposition of the case,

28 new counsel of record must join this Protective Order before any Protected Materials may be transferred


      STIPULATION AND [PROPOSED] PROTECTIVE ORDER          7
              Case 2:18-cr-00266-WBS Document 87 Filed 08/13/19 Page 8 of 9

 1 from the undersigned defense counsel to the new defense counsel. New defense counsel then will

 2 become Defense Counsel for purposes of this Protective Order, and become Defense Team’s custodian

 3 of materials, and shall then become responsible, upon the conclusion of appellate and post-conviction

 4 proceedings, for complying with the provisions set forth in this Protective Order. All members of the

 5 Defense Team, whether current or past counsel, are at all times subject to the Protective Order and are

 6 not relieved by termination of representation or conclusion of the prosecution.

 7          A.     Redaction of Protected Materials
 8          34.    Nothing in this Order shall prevent the United States Attorney’s Office from redacting

 9 PII or other confidential information in any Protected Materials.

10          B.     Modification of Order
11          35.    Nothing in this Order shall prevent any party from seeking modification to the Order or

12 from objecting to discovery it otherwise believes to be improper. Nothing in this Order shall prevent

13 any party from seeking a more restrictive protective order with regard to particular discovery items.

14          C.     Violation of Order
15          36.    Any person who willfully violates this Order may be held in contempt of court and may

16 be subject to monetary of other sanctions as deemed appropriate by the Court. This provision does not

17 expand or narrow the Court’s contempt powers.

18          D.     Application of Laws
19          37.    Nothing in this Order shall be construed to affect or comment on the admissibility or

20 discoverability of the Protected Materials.

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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER       8
              Case 2:18-cr-00266-WBS Document 87 Filed 08/13/19 Page 9 of 9

 1          38.    Nothing in this Order shall be construed to affect the application of and the parties’

 2 compliance with the Federal Rules of Criminal Procedure, Local Rules, and applicable statutes.

 3

 4    Dated: August 12, 2019                                 MCGREGOR W. SCOTT
                                                             United States Attorney
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 6                                                           /s/ ROBERT J. ARTUZ
                                                             ROBERT J. ARTUZ
 7                                                           Special Assistant U.S. Attorney
 8
      Dated: August 12, 2019                                 /s/ JEREMY DELICINO (w/ permission)
 9                                                           JEREMY DELICINO
                                                             Counsel for Defendant
10
                                                             JOSHUA BILAL GEORGE
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13                                 [PROPOSED] FINDINGS AND ORDER

14          The Court having read and considered the Stipulation and Joint Request for a Protective Order,

15 which this Court incorporates by reference into this Order in full, as modified above, hereby finds that

16 GOOD CAUSE exists to enter the above Order.

17          IT IS SO FOUND AND ORDERED this 13th day of August 2019.

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20                                                    THE HONORABLE EDMUND F. BRENNAN
                                                      UNITED STATES MAGISTRATE JUDGE
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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER        9
